MANDATE
                      Case: 25-145, 03/04/2025, DktEntry: 57.1, Page 1 of 1
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                              UNITED STATES COURT OF APPEALS
                                            FOR THE
                                       SECOND CIRCUIT
                          ____________________________________________
                                                                                                 Mar 04, 2025
              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 4th day of March two thousand twenty-five.

     _______________________________________

     Coinbase, Inc., Coinbase Global, Inc.,                     ORDER
                                                                Docket No. 25-145
                  Petitioners,

       v.

     United States Securities and Exchange Commission,

                Respondent.
     _______________________________________


            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

            The stipulation is hereby "So Ordered".

                                                         For The Court:
                                                         Catherine O'Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 03/04/2025
